                  EXHIBIT F




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       Re:      Williams v. AT&T Mobility, LLC; Case Number: 5:19-cv-00475-BO

Dear Counsel:

We are in receipt of your letter dated September 1, 2020 regarding AT&T’s responses to Plaintiff’s
First Interrogatories and Document Requests and the deficiencies you believe exist in AT&T’s
responses. We respond to each point in your letter as set forth below.

“Temporal Limitation” Objection: Document Request Nos. 1, 2, 3, 4, 5, 7, 8, 9, 10, 11, 12, 13,
14, 15, 16, 17; Interrogatory Nos. 1, 2, 3, 4, 5, 7, 8, 9, 10, 13, 14, 15

AT&T’s “temporal limitation” of November 2018 through February 2019 tracks the exact timeline
of the SIM swaps alleged in the Complaint. Any versions of documents existing prior to or
following the dates of the alleged SIM swaps would be irrelevant as they were not effective during
the relevant time period. However, in the interest of conferring in good faith, AT&T will
supplement its production to include documents and information pertaining to the time period
between January 1, 2018 and November 2018 that are relevant to the above referenced discovery
requests and were previously excluded due to the “temporal limitation” you referenced. Any
actions AT&T took after Plaintiff’s alleged February 2019 SIM swap are not relevant to his claims
against AT&T, but we will also produce certain documents concerning steps AT&T has taken to
prevent SIM swap damages that occurred after February 2019.

You also note in your letter that “Defendant’s practices and public statements… [before Nov.
2018] are relevant to Plaintiff’s claims…” and should therefore be produced. If “practices and
public statements” are specifically what Plaintiff’s seeks to obtain by way of these requests and



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interrogatories, then that information is in large part equally accessible to Plaintiff and should not
form the basis for a discovery dispute. Further, regarding AT&T’s internal policies or practices
relevant to the SIM swap incidents alleged in the Complaint, we have agreed above to provide
those in effect as of January 2018 and through the duration of those incidents.

Regarding your reference to the 2015 Consent Decree: the consent decree concerned allegations
of disclosure of customers’ sensitive personal information, such as names and portions of social
security numbers, as well as alleged but not verified disclosure of customer proprietary network
information (CPNI). See 30 FCC Rcd. 2808 at *2808, ¶¶ 5, 11, 19. SIM swaps, in stark contrast,
are carried out for the purpose of gaining the use of a customer’s phone number, not for the purpose
of stealing any of the customer’s sensitive personal information or CPNI in the carrier’s
possession.1 Indeed, the process of performing a SIM change typically entails only changing in
AT&T’s system the mobile device to which the subscriber’s telephone number is assigned, and
not the disclosure of any personal information or CPNI to the person requesting the SIM change.
In fact, it is the person requesting the SIM change that must provide information about the account
holder in order for a SIM change to be processed, not vice versa. Consistently, AT&T’s
investigation of this matter – and as indicated in Plaintiff’s account notes which AT&T has
produced in discovery – indicate the SIM swaps on Plaintiff’s account involved only changing the
mobile device to which Plaintiff’s wireless phone number was associated, and not the disclosure
of any of Plaintiff’s sensitive personal information or CPNI. Accordingly, the harm underpinning
the 2015 Consent Decree is unrelated to the SIM swap incidents Plaintiff alleges here and the
consent decree therefore has no bearing on the appropriate temporal scope of discovery.

“Account Notes”: Document Request Nos. 1, 2, 3, 4, 5; Interrogatory Nos. 1, 2, 3, 4, 5, 6, 7, 8

Your letter requests confirmation that AT&T has produced all account notes from Plaintiff’s
account with AT&T. We can confirm that AT&T has produced all account notes pertaining to
Plaintiff’s account with AT&T for the period between December 17, 2017 and February 7, 2020.
See ATT-WIL-00624.

Regarding your reference to Document Request No. 3, which seeks production of all documents
and communications concerning the alleged SIM swaps, we have produced all responsive non-
privileged documents concerning the alleged SIM swaps. AT&T is not in possession of any
additional non-privileged internal communications as you suggest in your letter. Plaintiff reported
and discussed the SIM swaps by telephone or in person with AT&T retail and/or customer service
agents. These interactions are recorded in the account notes, and the account notes are the extent
of AT&T’s records of those interactions with Plaintiff. Prior to serving his legal demand on AT&T,
Plaintiff did not directly interact with or request assistance from anyone within AT&T’s corporate
offices, and limited his interactions to his communications with AT&T retail and/or customer
service agents, the records of which AT&T has produced. Any other internal communications
relating to the SIM swaps took place after Plaintiff served notice of his claims on AT&T, at which
point AT&T’s legal department became engaged. Any such subsequent internal communications
are therefore protected by the attorney-client privilege.
1
 See also 47 U.S.C. § 222(h) (excluding “subscribers’ telephone numbers” from the definition of
CPNI).


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Document Request No. 12

As you note, this document request seeks AT&T’s “public statements Concerning SIM swapping.”
AT&T has produced its public statements concerning SIM swaps, which consisted of statements
made in articles and blog posts. This is the extent of AT&T’s public statements “concerning SIM
swapping” that are currently in its possession or control. To the extent you believe additional
documents exist, or seek documents and information not in AT&T’s possession or control, we note
that any such publicly available information is equally available to Plaintiff.

Document Request No. 17

AT&T previously searched for documents that could be responsive to this request, and this search
included periods outside of the “temporal limitation” you identify in your letter. We can confirm
that no such documents exist for any period of time remotely related to Plaintiff’s alleged SIM
swaps and therefore AT&T has no further documents to produce.

Interrogatory No. 15

We appreciate your effort to meet and confer to allow AT&T to provide a response that
satisfactorily answers this interrogatory. However, as noted in AT&T’s response to this
interrogatory, all persons “responsible for the protection and security of AT&T customers’ Data
and privacy” could conceivably include every employee who has ever worked for AT&T.
Plaintiff’s effort to limit the request to the identification of only AT&T parties directly responsible
for Williams’ account security is a step in the right direction, but still fails to limit the interrogatory
to a scope that AT&T can reasonably answer.

If you wish to rephrase the interrogatory, or to seek more information about a particular AT&T
employee or third party agent who you believe was directly and personally responsible for the
security of Plaintiff’s AT&T account, please identify them. If you are requesting identification of
a “person most knowledgeable” within AT&T as to these topics, please do so, and we would be
happy to discuss further.

Should you have any questions about any of the above, please do not hesitate to contact us. This
letter should not be interpreted as a waiver or limitation of any of AT&T’s objections or defenses,
and AT&T reserves all rights and objections.

                                                 Warm regards,



                                                 Joseph S. Dowdy
   cc: Michael Breslin, Esq.
       Adam Wiley, Esq.




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